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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK

    RICHARD SCHAFER and WILLIAM
    UNDERWOOD, on behalf of themselves and all
    others similarly situated,                         Case No. 6:19-cv-6907 (FPG)

                         Plaintiffs,                   CLASS ACTION

    v.                                                 JURY TRIAL DEMANDED

    DIRECT ENERGY SERVICES, LLC, a
    Delaware Limited Liability Company,

                         Defendant.

                     FIRST AMENDED CLASS ACTION COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 15(a)(1)(A), Plaintiffs Richard Schafer and

William Underwood hereby file their First Amended Complaint as a matter of course. Plaintiffs

bring this class action in their individual capacities, and on behalf of classes of persons defined

below, against Direct Energy Services, LLC1 (“Defendant” or “DES”), and allege the following

with knowledge as to their own acts, and upon information and belief as to all other acts:

                                        INTRODUCTION

         1.     For decades, the prices paid by consumers for their electricity and natural gas

were strictly regulated. However, in 1996, the New York legislature opened New York’s energy

market to “competition,” whereby consumers could choose from a variety of companies selling

residential energy in addition to traditional utilities like Consolidated Edison. Taking advantage

of the deregulation in New York and other states, companies like Defendant (called energy

services companies, or “ESCOs”) jumped into the market and began to grow rapidly.




1
 As alleged herein, DES includes the brand names “Direct Energy,” “Energetix,” and “NYSEG
Solutions” that were purchased and incorporated into DES during times relevant to this Complaint.
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       2.        Defendant has fueled its rapid expansion not by providing a good service for a fair

price, but rather by developing and using deceptive and unlawful marketing and sales practices

that often result in its energy customers paying far more than they would have paid had they

stayed with their traditional energy suppliers. And regardless of any savings, or lack thereof,

DES fails to conspicuously disclose its variable rate pricing structure, in violation of New York

law. DES advertises low, temporary fixed rates, and then buries the long-term variable rate

pricing structure in the fine print of a dense contract without any highlighting or call to attention.

       3.        These unscrupulous practices violate New York’s Energy Services Consumers

Bill of Rights, N.Y. Gen. Bus. Law § 349-d (the “ESCO Bill of Rights” or “Section 349-d”),

which mandates that all ESCO contracts and all ESCO marketing materials clearly and

conspicuously identify all variable charges included as part of an energy plan.

       4.        In addition, and in the alternative, DES unjustly retained payments obtained from

customers pursuant to purported contracts that were void as against public policy pursuant to

Section 349-d.

       5.        A class action is the only way Defendant’s customers can remedy DES’s ongoing

wrongdoing. The loss suffered by each DES customer is small compared to the cost of trying to

challenge DES’s unlawful practices. It is thus untenable for each individual consumer to bring

his or her own lawsuit. In addition, many customers may not even realize they are victims of

DES’s deceptive conduct.

       6.        Plaintiffs bring this action on behalf of themselves and Classes of DES customers

similarly harmed and described below. Plaintiffs seek, inter alia, actual damages, statutory

damages, treble damages up to ten thousand dollars for each class member, declaratory and

injunctive relief, restitution, disgorgement, and attorneys’ fees and costs.

       7.        With this class action, Plaintiffs and the Classes seek to ensure that DES engages

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in forthright and non-deceptive business practices. Plaintiffs therefore seek equitable relief in

addition to monetary damages. Plaintiffs ask that the Court declare Defendant’s business

practices impermissible, and enjoin Defendant from continuing its dishonest practices.

                                              PARTIES

        8.     Plaintiff Richard Schafer is a citizen of New York residing in Rochester, New

York.

        9.     Plaintiff William Underwood is a citizen of New York residing in Endicott,

New York.

        10.    Defendant Direct Energy Services, LLC is a Delaware limited liability

company with its principal place of business at 12 Greenway Plaza Suite 250, Houston, Texas.

        11.    DES was founded in Toronto, Ontario in 1986 and has become one of the largest

ESCOs in the United States, now serving nearly 5 million electric and natural gas customers

across its North American operations. DES sells electricity or natural gas in New York, eighteen

other states, and the District of Columbia.

        12.    DES is a wholly-owned subsidiary of Centrica plc, a British multinational utility

company headquartered in Windsor, Berkshire, United Kingdom.

        13.    On information and belief, at all times relevant to this Complaint, the DES brands

“Direct Energy,” “Energetix,” and “NYSEG Solutions” were not separate or distinct entities, but

rather mere brand names of DES.

        14.    DES acquired Energetix and NYSEG Solutions from a company called Iberdrola

in 2012.2 According to the New York Secretary of State, by the end of 2013, both Energetix and

NYSEG Solutions were “merged out” and “inactive,” meaning they both ceased to be their own


2
       https://www.prnewswire.com/news-releases/direct-energy-to-acquire-energetix-and-nyseg-
solutions-for-1102-million-162172025.html.
                                                  3
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entities and were mere alter egos of DES.

       15.     Even if Energetix or NYSEG Solutions were separate companies for some portion

of the Class Periods, both Energetix and NYSEG Solutions would have been wholly owned

subsidiaries of DES. As of today, indisputably, Energetix and NYSEG Solutions both cease to

exist as companies or brand names, and DES is responsible for all liabilities of Energetix and

NYSEG Solutions.

                                 JURISDICTION AND VENUE

       A.      Subject Matter Jurisdiction

       16.     This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. § 1332

(the “Class Action Fairness Act”).

       17.     This action meets the prerequisites of the Class Action Fairness Act, because the

claims of the Classes defined below exceed the sum or value of $5,000,000, the Classes have

more than 100 members, and diversity of citizenship exists between at least one member of the

Classes and Defendant.

       B.      Personal Jurisdiction

       18.     This Court has specific personal jurisdiction over Defendant DES because it

maintains sufficient minimum contacts in this jurisdiction through the advertising, marketing,

and sale of electricity and natural gas to New York consumers.

       C.      Venue

       19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2). Substantial

acts in furtherance of the alleged improper conduct occurred within this District and Plaintiff

Schafer resides within this District.

       20.     Venue is also proper in this District pursuant to 28 U.S.C. § 1391(d) because


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Defendant’s contacts within this District would be sufficient to subject it to personal jurisdiction

if this District were a separate state: DES maintains sufficient minimum contacts in this District

through the advertising, marketing, and sale of electricity and natural gas to consumers that

reside in this District.

                                   FACTUAL ALLEGATIONS

          A.    New York’s Energy Markets

          21.   In 1996, New York deregulated the sale of retail gas and electricity, allowing

New York consumers to purchase natural gas and electricity through third-party suppliers while

continuing to receive delivery of the energy from their existing utilities. More than a million

New York consumers have switched to an ESCO since New York opened its retail gas and

electric markets to competition.

          22.   ESCOs are subject to minimal regulation by New York’s utility regulator, the

New York State Public Service Commission (“NYPSC”). ESCOs like DES do not have to file

their rates with NYPSC, or the method by which their rates are set.

          23.   Unfortunately for New York consumers, the introduction of ESCOs to New York

energy markets has likely cost consumers billions of dollars, according to the NYPSC.3 For just

the 30-month period of January 2014 to June 2016, New York consumers paid $820 million

more for gas and electricity service than they would have to the regulated utilities.4

          24.   For example, in Rochester (zip code 14618), the average Direct Energy variable

rate monthly bill for natural gas supply was roughly three times the monthly bill for customers of

the regulated utility serving Rochester, Rochester Gas & Electric (“RGE”) from 2017 to 2019:



3
       https://www.pressconnects.com/story/news/2018/02/09/risk-ny-groundbreaking-program-
allowing-customers-select-electric-gas-suppliers/302146002/
4
    Id.
                                                 5
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          25.   It’s not just ESCOs’ unprecedented overcharging that causes problems. From

2014 through 2016, the NYPSC and the New York Attorney General’s office fielded 14,000

complaints about ESCO marketing practices.5 ESCOs are an incredible drag on both the

pocketbooks of New York residents and the resources of New York’s government agencies—

pilfering billions of dollars in the process.

          26.   Most of this is largely invisible to consumers, though, because consumers rarely

interact with an ESCO other than to sign up. ESCO customers, like Plaintiffs, never get bills

from Direct Energy or any ESCO.

          27.   If a customer switches to an ESCO, the customer will have his or her energy

“supplied” by the ESCO, but still “delivered” by their existing utility (in the Syracuse area,

typically National Grid). The customer’s existing utility continues to bill the customer for both

the energy supply and delivery costs. The only difference to the customer is which company sets



5
    Id.
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the price for the customer’s energy supply.

       28.     Ultimately, to the customer, everything is handled by the regulated utility, just as

before switching to an ESCO. If service is needed, that is handled by the regulated utility. If

customers have billing questions, they must call the regulated utility. The result is that many

consumers eventually forget the ESCO even exists, which is exactly what the ESCOs want. The

ESCOs get to keep overcharging while the regulated utilities and New York government deal

with the complaints.

       29.     After a customer switches to an ESCO, the customer’s energy supply charge—

based either on a customer’s kilowatt-hour (“kWh”) (for electricity) or therm6 (for gas) usage—

is calculated using the supply rate charged by the ESCO and not the regulated rate charged by

customer’s former utility. The supply rate is itemized on the customer’s bill as the number of

kWh or therms multiplied by the rate. For example, if a customer uses 100 therms at a rate of

40.0¢ per therm, the customer will be billed $40.00 (100 x $.40) for his or her energy supply.

       30.     Beginning in 2009, the New York Legislature passed crucial safeguards to protect

New York’s residential energy consumers from deceptive and predatory practices by ESCOs: the

ESCO Bill of Rights. Among the consumer protections in the ESCO Bill of Rights, Section 349-

d(7) requires that “[i]n every contract for energy services and in all marketing materials provided

to prospective purchasers of such contracts, all variable charges shall be clearly and

conspicuously identified” (emphasis added). Section 349-d(8) further provides that “any contract

for energy services which does not comply with the applicable provisions of this section shall be

void and unenforceable as contrary to public policy.”

       31.     The ESCO Bill of Rights went into effect on January 11, 2011.


6
  Natural gas is also sometimes measured in hundred-cubic-feet (“Ccf”) or thousand-cubic-feet
(“Mcf”). A Ccf is approximately 1.036 therms, and a Mcf is approximately 10.36 therms.
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        B.      DES’s Misleading Conduct

        32.     DES purportedly offers its customers fixed rate gas supply plans, but it fails to

adequately inform consumers who switch that once their low “teaser” or “fixed” rate expires

their gas supply rates will rise—oftentimes doubling or even tripling the original teaser rate.

        33.     Once the initial low, fixed rates for natural gas expire, DES customers’ plans

automatically switch to a month-to-month variable rate plan. These variable rates can rise at the

whims of DES and have no upper limit.

        34.     DES misleadingly fails to clearly and conspicuously disclose that every single one

of its supposedly fixed rate gas plans convert to variable rate plans—by default unless a

customer takes action—after the initial term concludes.

        35.     Once a customer is on a month-to-month variable rate plan, DES can simply raise

the customer’s rate every month, and is under no further obligation to inform the customer of this

fact. Nor is DES required to provide its customers with notice of their ability to (1) switch back

to a fixed-rate plan by signing a new agreement, or (2) switch back to their regulated utility.

        36.     On information and belief, DES frequently applies the “frog in boiling water”

treatment to its customers on variable rate plans: it raises prices slowly enough that the

customers do not realize that they are paying much more than they previously had under their

fixed rate plans—to say nothing of what they would have paid if they had simply remained with

their regulated utility.

        37.     The terms of a consumer’s relationship with DES are memorialized in the New

York Residential & Small Commercial Terms and Conditions (the “Terms”).7

        38.     The natural gas Terms utterly fail to meet the requirement of Section 349-d(7)


7
 A true copy of the natural gas Terms visible to consumers during DES’s online sign-up process
as of November 2019 is attached hereto as Exhibit A.
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that variable energy rates be clearly and conspicuously identified in a contract for energy

services. The natural gas Terms provide the following disclosure regarding DES’s variable rates:

       After the Initial Term and during the Renewal Term, your rate per ccf/mcf/therm,
       as well as the daily customer charge, will both be variable, and will not change
       more than once each monthly billing cycle, unless we send advance written notice
       indicating otherwise. Each will change as we solely determine based on business
       and market conditions. Your rate per ccf/mcf/therm excludes: (a) fees, charges
       and other assessments imposed by your LDU, the New York Public Service
       Commission (including the New York Department of Public Service, the
       "NYPSC") or other governmental agency; and (b) federal, state and local taxes.
       These items are in addition to your per ccf/mcf/therm rate.

The reference to variable charges is buried without highlighting or other emphasis amid the

natural gas Terms’ sea of confusing fine print (highlighting added):




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          39.   Even for those customers who read and understand the provisions of the Terms,

the Terms are still entirely unclear as to how a customer would determine what he or she would

pay under a variable plan: while the Terms mention “market conditions” for natural gas, it offers

no suggestion of where a consumer might be able to see those prices before being billed. More

important, DES can change the variable rate based on “business . . . conditions” “solely

determine[d]” by DES. Therefore, a consumer truly has no way to determine what his or her

variable rate would be; DES states that it can charge whatever it wants. This is hardly the clear

and conspicuous disclosure of variable charges mandated by the ESCO Consumers Bill of

Rights.

          40.   Through its conduct, DES has violated both the spirit and letter of Section 349-d,

the law that is explicitly designed to protect energy consumers and allow them to make informed

choices when deciding whether to switch to an ESCO.

          41.   Defendant’s conduct is ongoing. DES still offers fixed rate plans that revert

automatically to variable rate plans after certain periods of time. As shown above in paragraph

38, DES’s current Terms (as of November 21, 2019) still contain the unclear, inconspicuous

variable rate language.

          42.   On information and belief, at all times after the ESCO Bill of Rights went into

effect in January of 2011, DES has consistently provided its customers with Terms that fail to

comply with Section 349-d(7).

          C.    Plaintiff Schafer’s Experience

          43.   Plaintiff Schafer began receiving gas service through the Energetix brand of DES

in or about 2013.

          44.   On information and belief, DES purportedly sent to Plaintiff Schafer enrollment

notices, renewal notices, and Terms and Conditions for his DES natural gas supply service.

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       45.     On information and belief, the enrollment notices, renewal notices, and Terms and

Conditions that DES sent to Schafer for his natural gas supply service did not clearly and

conspicuously disclose that he would be charged a variable rate per term for his gas supply

service.

       46.     On information and belief, none of the materials DES provided to Plaintiff

Schafer clearly or conspicuously identified all variable charges in accordance with § 349-d(7).

       47.     As a result of DES’s conduct, Plaintiff Schafer was injured because he paid more

for DES’s variable rate natural gas supply than he would have from an alternative energy

supplier (in an amount to be proven at trial).

       D.      Plaintiff Underwood’s Experience

       48.     Plaintiff Underwood began service with the DES brand NYSEG Solutions in or

before April 2013.

       49.     Plaintiff Underwood was a NYSEG Solutions customer for gas supply until DES

eliminated the NYSEG Solutions brand in 2016.

       50.     Mr. Underwood remained a variable rate gas supply customer of DES through

spring 2019.

       51.     On information and belief, DES never provided Plaintiff Underwood with a

contract for his gas service that clearly and conspicuously disclosed that he would be charged a

variable rate per therm.

       52.     Thus, any contract between DES and Underwood failed to comply with Section

349-d(7)’s requirement that “all variable charges shall be clearly and conspicuously identified.”

       53.     As such, any contract that purportedly existed between DES and Underwood was

“void and unenforceable as contrary to public policy.” N.Y. Gen. Bus. Law § 349-d(8).

       54.     Despite the lack of any valid contract between DES and Mr. Underwood, DES

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nevertheless charged Mr. Underwood more for gas service than his regulated utility would have

charged him.

        55.       On information and belief, over the course of his time as a DES customer, Mr.

Underwood paid thousands of dollars more to DES for gas service than he would have paid to

his regulated utility.

                                 CLASS ACTION ALLEGATIONS

        56.       Plaintiffs sue on their own behalf and on behalf of two Classes of similarly-

situated individuals for damages, disgorgement, restitution, and declaratory and injunctive relief

under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure.

        57.       The Disgorgement Class is preliminarily defined as follows:

                  All DES gas customers in New York, including customers of the Direct
                  Energy, NYSEG Solutions, and Energetix brands, who paid DES for gas
                  supply from January 11, 2011 to the date of Class Certification of this
                  action (the “Disgorgement Class Period”).

        58.       The Damages Class is preliminarily defined as follows:

                  All DES gas customers in New York, including customers of the Direct
                  Energy, NYSEG Solutions, and Energetix brands, who paid a variable rate
                  for gas supply from the date three years prior to the date of the filing of
                  this action to the date of Class Certification of this action (the “Damages
                  Class Period”).

        59.       Excluded from the Classes are the officers and directors of Defendant, members

of the immediate families of the officers and directors of Defendant, and its legal representatives,

heirs, successors or assigns and any entity in which Defendant has or has had a controlling

interest. Also excluded are all federal, state and local government entities; and any judge, justice

or judicial officer presiding over this action and the members of their immediate families and

judicial staff.

        60.       Plaintiffs estimate the size of each Class to number in the thousands. Accordingly,


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the members of the Classes are so numerous that the joinder of all such persons is impracticable.

       61.     Plaintiffs are adequate class representatives. Their claims are typical of the claims

of the Classes and do not conflict with the interests of any other members of the Classes.

Plaintiffs and members of the Classes were subject to the same or similar conduct by Defendant.

Further, Plaintiffs and the Classes sustained substantially the same injuries and damages arising

out of Defendant’s conduct.

       62.     Plaintiffs will fairly and adequately protect the interests of all Class members.

Plaintiffs have retained competent attorneys experienced in the prosecution of class actions to

represent his interests and those of the Classes.

       63.     The questions of law and fact common to the Classes predominate over any

questions affecting only individual Class members, and a class action will generate common

answers which are apt to drive the resolution of this action. These common questions of law and

fact include, without limitation:

               a.       Whether Defendant’s variable charges are clearly and conspicuously

       identified in all contracts for energy services;

               b.       Whether all of Defendant’s Terms are void and unenforceable as against

       public policy;

               c.       Whether Defendant was unjustly enriched by profiting as a result of

       contracts that were void and unenforceable when they were purportedly formed;

               d.       Whether members of the Classes have been injured by Defendant’s

       conduct;

               e.       Whether, and to what extent, Defendant should be enjoined to prevent it

       from continuing its unlawful practices;

               f.       The extent of class-wide injury and the measure of damages for those

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       injuries; and

               g.      The measure of unjustly obtained profits that Defendant should be made to

       disgorge.

       64.     A class action is superior to other methods for resolving this controversy because:

               a.      the prosecution of separate actions by Class members creates a risk of

       adjudications with respect to individual Class members that would be dispositive of the

       interests of other Class members not parties to that action, or substantially impair or

       impede their ability to protect their interests;

               b.      the prosecution of separate actions by Class members creates a risk of

       inconsistent or varying adjudications, which would establish inconsistent standards for

       Defendant’s conduct;

               c.      Defendant’s wrongful conduct is generally applicable to all Class

       members; and

               d.      there will be no difficulty in managing this action as a class action.

       65.     Accordingly, this action satisfies the requirements set forth under Federal Rules of

Civil Procedure 23(a) and 23(b).

                                     COUNT I
                               UNJUST ENRICHMENT
                    (ON BEHALF OF EACH PLAINTIFF INDIVIDUALLY
                          AND THE DISGORGEMENT CLASS)

       66.     Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

       67.     Common law prohibits one party’s possession of money that belongs to another

and that, in the absence of an agreement, and in equity and good conscience, the party possessing

such money ought not retain.


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          68.   Because Defendant’s Terms fail to “comply with the applicable provisions” of

Section 349-d, the Terms are “void and unenforceable as contrary to public policy.” N.Y. Gen.

Bus. Law § 349-d(8). Any purported waiver by Plaintiff of the rights afforded by Section 349-d

is similarly void and unenforceable by DES. Id.

          69.   Defendant has been unjustly enriched by collecting money from its customers in

the absence of valid contracts. On information and belief, the majority of DES customers paid

substantially more to DES than they would have paid to their regulated utility, while DES

provided them with nothing of value in return for their higher payments.

          70.   Defendant’s enrichment has been at the expense of Plaintiffs and the

Disgorgement Class because Plaintiffs and the Disgorgement Class paid money to Defendant in

the absence of a valid contract. Defendant has retained these benefits that rightfully belong to

Plaintiffs and the Disgorgement Class.

          71.   Defendant’s retention of those benefits constitutes its unjust enrichment at the

expense of Plaintiffs and the Disgorgement Class.

          72.   Defendant appreciates and has knowledge of such benefits.

          73.   Under principles of equity and good conscience, Defendant should not be

permitted to retain the revenue that it acquired by virtue of its unjust conduct. All funds, revenue,

profits, and benefits received by Defendant as a result of its actions rightfully belong to Plaintiffs

and the Disgorgement Class.

          74.   Plaintiffs and the Disgorgement Class have no adequate remedy at law.

          75.   As a result of Defendant’s wrongful retention of monies to which Plaintiffs and

the Disgorgement Class are entitled, Plaintiffs and the Disgorgement Class are entitled to recover

benefits wrongfully retained by Defendant and such other relief as this Court deems just and

proper.

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                               COUNT II
     VIOLATION OF NEW YORK GENERAL BUSINESS LAW SECTION 349-d(7)
            (ON BEHALF OF PLAINTIFF SCHAFER INDIVIDUALLY
                      AND THE DAMAGES CLASS)

       76.     Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs as if fully set forth herein.

       77.     Plaintiff Schafer brings this claim under Section 349-d(7) on his own behalf and

on behalf of the members of the Damages Class.

       78.     Section 349-d(7) provides that “[i]n every contract for energy services and in all

marketing materials provided to prospective purchasers of such contracts, all variable charges

shall be clearly and conspicuously identified.”

       79.     The Terms Defendant provides to its customers fail to clearly and conspicuously

inform consumers about DES’s variable gas rates or the factors affecting DES’s variable rates.

       80.     Through its conduct described above, Defendant has violated Section 349-d(7)

and caused financial injury to Plaintiffs and DES’s other variable rate customers by causing

Plaintiffs and Class members to pay more for gas than they would have had they stayed with

their previous gas supplier or chosen a different gas supplier.

       81.     Section 349-d(10) also provides that

       any person who has been injured by reason of any violation of this section may
       bring an action in his or her own name to enjoin such unlawful act or practice, an
       action to recover his or her actual damages or five hundred dollars, whichever is
       greater, or both such actions. The court may, in its discretion, increase the award
       of damages to an amount not to exceed three times the actual damages up to ten
       thousand dollars, if the court finds the defendant willfully or knowingly violated
       this section. The court may award reasonable attorney’s fees to a prevailing
       plaintiff.

       82.     As a direct and proximate result of Defendant’s conduct, Plaintiffs and the Class

suffered injury and were damaged in an amount to be determined at trial, but in any case not less

than $500 for each violation.
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       83.     As shown above, Defendant willfully or knowingly violated Section 349-d.

       84.     Because Defendant’s violations of Section 349-d have damaged Plaintiffs and the

Class, and Defendant’s continued violations threaten additional injury for which Plaintiffs and

the Class have no adequate remedy at law, Plaintiffs seek an order pursuant to Section 349-d

enjoining Defendants from such future conduct.

       85.     Pursuant to Section 349-d, Plaintiffs seek actual, statutory, and treble damages,

costs and expenses, pre and post-judgment interest, and attorneys’ fees.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

               a.     Enter an order certifying the Classes defined above, appointing Plaintiffs

       as Class representatives, and designating the undersigned firms as Class Counsel;

               b.     Enter an order granting monetary relief pursuant to Section 349-d on

       behalf of the Class;

               c.     Declare that Defendant has committed the violations of law alleged herein;

               d.     Declare that the Terms issued by Defendant are void as against public

       policy pursuant to Section 349-d;

               e.     Determine that Defendant has been unjustly enriched as a result of its

       wrongful conduct, and enter an appropriate order awarding restitution to the Class and

       requiring disgorgement from Defendant;

               f.     Render an award of compensatory damages of at least $5,000,000, the

       precise amount of which is to be determined at trial;

               g.     Issue an injunction or other appropriate equitable relief preventing

       Defendant from engaging in the deceptive practices alleged herein;

               h.     Render an award of treble damages;

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              i.      Enter judgment including interest, costs, reasonable attorneys’ fees, costs,

       and expenses; and

              j.      Grant all such other relief as the Court deems appropriate.

                                    JURY TRIAL DEMAND

       Plaintiffs hereby demand a trial by jury of all issues so triable.


Dated: January 3, 2020                        Respectfully submitted,


                                              KamberLaw, LLC

                                              By:
                                                      s/ Adam C. York
                                              One of the attorneys for Plaintiffs, individually and
                                              on behalf of a class of similarly situated individuals

                                              Adam C. York
                                              KamberLaw, LLC
                                              220 N Green Street
                                              Chicago, IL 60607
                                              Telephone: (212) 920-3072
                                              ayork@kamberlaw.com

                                              Scott A. Kamber
                                              (Application for Admission forthcoming)
                                              Michael Aschenbrener
                                              (Application for Admission forthcoming)
                                              KamberLaw, LLC
                                              201 Milwaukee Street, Suite 200
                                              Denver, CO 80246
                                              Telephone: (303) 222-0281
                                              masch@kamberlaw.com

                                              Benjamin J. Sweet
                                              The Sweet Law Firm, P.C.
                                              1145 Bower Hill Road, Suite 104
                                              Pittsburgh, PA 15243
                                              Telephone: (412) 857-5350
                                              ben@sweetlawpc.com

                                              [Signatures continued below.]

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                              David L. Steelman
                              (Application for Admission forthcoming)
                              Steelman & Gaunt
                              901 Pine Street, Ste. 110
                              P.O. Box 1257
                              Rolla, Missouri 65402
                              Telephone: (573) 341-8336
                              dsteelman@steelmangaunt.com

                              Attorneys for Plaintiffs, individually and on behalf
                              of a class of similarly situated individuals




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